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                           Exhibit 33
  Case 1:23-cv-00108-LMB-JFA Document 1203-30 Filed 08/23/24 Page 2 of 3 PageID# 89259
  Message
  From:          Sundar Pichai [sundar@google.com]
  Sent:          1/26/2018 6:07:00 PM
  To:            Susan Wojcicki [susan@google.com]
  CC:            Google leads [google-leads@google.com]; Chris Dale [cdale@google.com]
  Subject:       Re: upcoming Guardian piece on Sat - attny/client priv


  Attorney Client Privileged, Confidential, Kent pls advice

  Thanks for the update Susan and all the prep to be ready for this proactively. I have some feedback on the
  messaging and so will ping you and Chris offline to cover it.


  - Sundar



  On Thu, Jan 25, 2018 at 11 :20 PM, Susan Wojcicki <susan@google.com> wrote:
  Hi Leads * Kent for advice - attny client priv


  I wanted to give you a heads up that on this Saturday, January 27, the Guardian's Weekend Magazine will publish a large,
  ~4k word story on the role YouTube played in the run-up to the 2016 election. The piece centers on research done by a
  former Google and YouTube engineer that was published in a medium post shortly after the election. We expect this story
  and the research that supports it to be very negative and focus on a perceived algorithmic bias that favored Trump over
  Clinton. The Guardian concludes, that this perceived bias led to our recommendation system suggesting, on the whole,
  more anti-Clinton videos than anti-Trump videos.


  Some background and facts to note:


  •         The Guardian's story has shifted and been postponed multiple times over the last six weeks, but they have
  consistently refused to give us the ~8k video dataset that they're basing their research on (only 1k of which they have
  confessed to actually watching). The comms team and many of our engineers have spent dozens of hours working to
  address the Guardian's questions and assumptions but the Guardian itself has not been forthcoming.
  •         The story will include experts and academics that say that though limited, the dataset appears to be fair but
  there's little they can understand in the big picture, b/c YouTube doesn't release all their data. The experts will also
  criticize technology more broadly and its role in the election.
  •         We have offered them two statements (pasted below). The first, more aggressive one, is based on their
  accusation of YouTube algorithmically biasing one candidate over another (we bias towards what a user searches for and
  watches, rather than political affiliation). The second is about the progress we have made in in the last year improving how
  we better surface videos from authoritative news sources.
  •         Given the team's interactions with the reporter, we expect the piece to portray YouTube as having a pro-Trump
  bias; recommending conspiratorial videos that inordinately favored Trump and pushed fake news about Clinton. It will
  likely assert that traffic from social platforms, potentially from foreign-created bots, drove traffic to these videos. They will
  portray us as being dismissive of their research's claims (of which they shared very little aside from a handful of videos
  and their conclusions) and they will also point to the recent Logan Paul incident and the video's appearance in the
  Trending Tab as an example of how our systems are still not working properly.

  Given the tone from the the Guardian, the team has pulled together this reactive blog post that succinctly captures much
  of the data and arguments we believe support our position that the Guardian has repeatedly refused to. I have asked the
  PR team to convene a war-room on Saturday with engineering to review the story for inaccuracies and monitor interest. If
  the story does not gain interest on social, or lead to press inquiries, we will ignore it and not post the blog. If the story does
  generate a lot of press inquiries and social shares then the recommendation is that we publish the blog. You can find
  more detail in the PR team's comms doc here.




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  If you have questions, concerns, feedback pis let me and Chris Dale (YT head of PR and cc'd on email) know.


  Kent- pis let me know if you have legal feedback, thoughts, advice for us as well.

  Susan




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  leads+unsubscribe@google.com
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